Case 6:12-cr-00059-JDK-JDL         Document 608        Filed 06/24/17      Page 1 of 2 PageID #:
                                          2024



                       IN THE UNITED STATES DISTRICT COURT
                            EASTERN DISTRICT OF TEXAS
                                  TYLER DIVISION

 UNITED STATES OF AMERICA                         §
                                                  §
                                                  § CASE NO. 6:12-CR-0059-RC
 v.                                               §
                                                  §
                                                  §
 RANDY CAMERON (10)                               §
                                                  §

                   ORDER ADOPTING THE MAGISTRATE JUDGE'S
                       REPORT AND RECOMMENDATION

       The court referred a petition alleging violations of supervised release conditions to the

Honorable K. Nicole Mitchell, United States Magistrate Judge, at Tyler, Texas, for consideration

pursuant to applicable laws and orders of this court. The court has received and considered the

Report of the United States Magistrate Judge filed pursuant to such order, along with the record,

pleadings and all available evidence.

       At the close of the revocation hearing, U.S. Magistrate Judge K. Nicole Mitchell

recommended:

1.     that the court find that the Defendant violated the first allegation in the petition that he
       failed to follow a mandatory condition of release;

2.     that the Defendant’s supervised release should be revoked pursuant to 18 U.S.C. § 3583;
       and

3.     the Defendant should be sentenced to a term of 9 months of imprisonment to be followed
       by 3 years of supervised release.

       Neither party has filed objections to Judge Mitchell’s Report and Recommendation.

Accordingly, the findings of fact and conclusions of law of the magistrate judge are correct and

the report of the magistrate judge is ADOPTED. It is therefore
Case 6:12-cr-00059-JDK-JDL       Document 608     Filed 06/24/17     Page 2 of 2 PageID #:
                                        2025



      ORDERED and ADJUDGED that the petition is GRANTED and Randy Cameron’s

supervised release is REVOKED.

      Judgment and commitment will be entered separately, in accordance with the magistrate

judge’s recommendations.


       So ORDERED and SIGNED this 24 day of June, 2017.




                                                 ___________________________________
                                                 Ron Clark, United States District Judge




                                            2
